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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 IN RE                                           )
                                                 )
 ALEXANDER E. JONES                              )    CASE NO. 22-33553
                                                 )
                 DEBTOR.                         )    (CHAPTER 11)
                                                 )
                                                 )    JUDGE CHRISTOPHER M. LOPEZ

    SUPPLEMENTAL FINAL FEE APPLICATION OF RACHEL KENNERLY, LLC
       AS TAX ACCOUNTANT TO THE DEBTOR FOR THE PERIOD FROM
                DECEMBER 06, 2022 THROUGH JUNE 14, 2024

            If you object to the relief requested, you must respond in writing.
            Unless otherwise directed by the Court, you must file your response
            electronically at https://ecf.txsb.uscourts.gov/ within twenty-one days
            from the date this motion was filed. If you do not have electronic filing
            privileges, you must file a written objection that is actually received
            by the clerk within twenty-one days from the date this application was
            filed. Otherwise, the Court may treat the pleading as unopposed and
            grant the relief requested.

PLEASE TAKE NOTICE OF THE FOLLOWING:

         On June 28, 2024, Rachel Kennerly, LLC (“Kennerly”), as tax accountant to the Debtor,

filed her Final Fee Application of Rachel Kennerly, LLC as Tax Accountant to the Debtor for

Allowance and Payment of Fees and Expenses for the Period from December 06, 2022 Through

June 14, 2024 (the “Application”).

         The summary cover sheet (the “Summary”) to the Application shows total fees requested

in the Application as $30,925.00, total actual professional hours as 99.5 and average hourly rate

for professionals as 310.80, the Summary is attached as “Exhibit A.” After further review of the

invoices between January 1, 2024 – June 14, 2024, the total fees requested in the Application are

actually $33,040.00, and total actual professional hours are 99.5 and average hourly rate for


SUPPLEMENTAL FINAL FEE APPLICATION OF RACHEL KENNERLY, LLC AS TAX
ACCOUNTANT - Page 1
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professionals is 332.06.1

        A copy of an updated proposed order with the corrected total fees to be awarded has also

been attached hereto as “Exhibit B.”

        WHEREFORE, Kennerly respectfully requests entry of an order allowing (a)

compensation for professional services rendered during the Application Period in the amount of

$33,040.00, and reimbursement for actual and necessary expenses Kennerly incurred during the

Application Period in the amount of $0.00 for total compensation in the aggregate amount of

$33,040.00 for the Application Period, (b) awarding, ordering and directing the Debtor to pay

Kennerly $33,040.00, and (c) granting Kennerly such other and further relief as is just.

Houston, TX
Dated: August 1, 2024

                                                              RACHEL KENNERLY, LLC.

                                                              By: /s/ Rachel Kennerly
                                                              Rachel Kennerly
                                                              3035 Ted Trout Dr.
                                                              Lufkin, TX 75904
                                                              Telephone: 903-631-0317
                                                              Email: rachel@kennerlycpa.com

                                                              TAX ACCOUNTANT FOR                           DEBTOR,
                                                              ALEXANDER E. JONES




1
 All invoices were previously attached to the Application. The error was one of calculation. This error has been
corrected with this supplement.

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                               CERTIFICATE OF SERVICE

       I certify that on August 1, 2024, a true and correct copy of the foregoing pleading was
served upon all parties registered to receive notice via the Court’s ECF system.


                                            /s/ Christina W. Stephenson
                                                Christina W. Stephenson




SUPPLEMENTAL FINAL FEE APPLICATION OF RACHEL KENNERLY, LLC AS TAX
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                  EXHIBIT A




SUPPLEMENTAL FINAL FEE APPLICATION OF RACHEL KENNERLY, LLC AS TAX
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                             §   Chapter 7
                                                   §
ALEXANDER E. JONES                                 §   Case No. 22-33553
                                                   §
         Debtor.                                   §


   SUMMARY COVER SHEET TO THE FINAL FEE APPLICATION OF RACHEL
  KENNERLY, LLC AS TAX ACCOUNTANT TO THE DEBTOR FOR THE PERIOD
           FROM DECEMBER 06, 2022, THROUGH JUNE 14, 2024

   Name of Applicant:                                              RACHEL KENNERLY, LLC
   Applicant’s Role in Case:                                Tax Accountant to Debtor
   Date Order of Employment Signed:                                  January 20, 2023
                                                           Beginning Date               End Date
   Time period covered by this Application                   12/06/2022                 06/14/2024
   Time period(s) covered by prior Applications:             12/06/2022                 12/31/2023
   Total fees requested in this Application:                                                $30,925.00
   Total professional fees requested in this Application                                    $30,925.00
   Total actual professional hours covered by this Application:                                      99.5
   Average hourly rate for professionals:                                                       310.80
   Total paraprofessional fees requested in this Application:                                        0.00
   Total actual paraprofessional hours covered by this Application:                                  0.00
   Average hourly rate for paraprofessionals:                                                        0.00
   Reimbursable expenses sought in this application:                                                 0.00
   Total to be Paid to Priority Unsecured Creditors:                                                 N/A
   Anticipated % Dividend to Priority Unsecured Creditors:                                           N/A
   Total to be Paid to General Unsecured Creditors:                                                  N/A
   Anticipated % Dividend to General Unsecured Creditors:                                            N/A
   Date of Confirmation Hearing:                                                                     N/A
   Indicate whether plan has been confirmed:                                                         No.




FINAL FEE APPLICATION – Page 1
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                   EXHIBIT B




SUPPLEMENTAL FINAL FEE APPLICATION OF RACHEL KENNERLY, LLC AS TAX
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                           §   Chapter 7
                                                 §
ALEXANDER E. JONES                               §   Case No. 22-33553
                                                 §
         Debtor.                                 §


     ORDER AUTHORIZING PAYMENT OF FINAL FEE APPLICATION OF RACHEL
     KENNERLY, LLC AS TAX ACCOUNTANT TO THE DEBTOR FOR THE PERIOD
              FROM DECEMBER 06, 2022, THROUGH JUNE 14, 2024
         ON THIS DATE this Court considered the Final Fee Application of Rachel Kennerly, LLC

(“Kennerly”) as Tax Accountant to the Debtor for Allowance and Payment of Fees and Expenses

for the Period from December 06, 2022 Through June 14, 2024 (the “Application”) [Dkt. No.

745]. The Court finds that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334(b); that this is a core proceeding pursuant to 28 U.S.C. § 157(b), and that the venue of this

proceeding in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The Court has

considered the Application and any objections prior to the signing of this order.

Accordingly, IT IS HEREBY ORDERED THAT:
1.       The Application is GRANTED as set forth therein.

2.       Kennerly is awarded $33,040.00 for professional fees and services provided during the

Application Period of December 06, 2022, through June 14, 2024.

3.       Kennerly is awarded $0.00 for reimbursement of actual and necessary expenses incurred

by Kennerly during the Application Period.

4.       Notice of the Application provided by Kennerly is deemed to be good and sufficient notice

of the Application, and the requirements of the Local Rules are satisfied by the contents of the

Application.
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5.       The Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.

         IT IS FURTHER ORDERED that, notwithstanding any Bankruptcy Rule to the contrary,

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry.



         Dated: ___________, 2024             _______________________________________
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




                                                 2
